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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


 Black Widow Termite & Pest Control
 Corp.,

        Plaintiff,                                  Civil Action No.:3:23-cv-01246


 vs.


 Black Widow Pest Specialist LLC,

        Defendant.

                     PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff respectfully moves this Court for summary judgment pursuant to Fed. R. Civ. P.

56 on the issue of liability as to all Claims asserted in the Complaint, and for summary judgment

denying all of Defendant’s Counterclaims and Affirmative Defenses. Plaintiff submits that there

are no genuine disputes of material fact and that it is entitled to judgment as a matter of law.

       In support of this Motion, Plaintiff has annexed the Local Rule 56(a)(1) Statement as

required by D. Conn. L. Civ. R. 56, which sets forth such facts as would be admissible in

evidence. This motion for summary judgment is also supported by an accompanying

memorandum of law concurrently filed herewith.

Dated: June 18, 2025
                                       FARBER, LLC

                                       By     /s/Jonathan A. Winter
                                       Jonathan A. Winter
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                                       Shelton, CT 06484
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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing is being served via ECF.


06/18/2025                                           /s/Jonathan A. Winter

Date                                                 Jonathan A. Winter
